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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

  JESSICA BURRIS,

              Plaintiff,                       Case No. 6:25-cv-1072-WWB-LHP

  v.

  TRANS UNION LLC;

              Defendant.
                                        /

            DEFENDANT TRANS UNION, LLC’S ANSWER TO
        PLAINTIFF’S COMPLAINT AND AFFIRMATIVE DEFENSES

        COMES NOW, Defendant Trans Union LLC (“Trans Union”) by and through

  its counsel of record, and hereby files its Answer and Defenses to Plaintiff’s

  Complaint (“Complaint”).      The paragraph numbers below correspond to the

  paragraphs contained in the Complaint to the extent possible:

                           JURISDICTION AND VENUE

        1.    Trans Union admits that jurisdiction is proper pursuant to 15 U.S.C. §

  1681p. Trans Union states that the remaining allegations of this paragraph are legal

  conclusions and, so stating, denies them.

        2.    Trans Union states that the allegations of this paragraph are legal

  conclusions and, so stating, denies them.




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                                        PARTIES

        3.     Trans Union states that it lacks knowledge or information sufficient to

  form a belief about the truth of these allegations, which has the effect of a denial

  under Rule 8(b)(5).

        4.     Trans Union admits that it is a Delaware limited liability company with

  its principal place of business in Chicago, Illinois.

                            DEMAND FOR JURY TRIAL

        5.     Trans Union admits that Plaintiff demands a jury and objects to the

  extent that any of the issues demanded are not so triable.

                                    ALLEGATIONS

        6.     Trans Union admits that it is a “consumer reporting agency” as that

  term is defined by the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq. Trans

  Union states that the remaining allegations of this paragraph are legal conclusions

  and, so stating, denies them.

        7.     Trans Union admits that it is a “consumer reporting agency” as that

  term is defined by the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq. Trans

  Union states that the remaining allegations of this paragraph are legal conclusions

  and, so stating, denies them.

        8.     Trans Union admits that it is a “consumer reporting agency” as that

  term is defined by the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq. Trans



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  Union states that the remaining allegations of this paragraph are legal conclusions

  and, so stating, denies them.

        9.     Trans Union denies the allegations contained in this paragraph.

        10.    Trans Union states that it lacks knowledge or information at this time

  sufficient to form a belief about the truth of these allegations as they apply to Trans

  Union, which has the effect of a denial under Rule 8(b)(5). Trans Union states that

  it lacks knowledge or information sufficient to form a belief about the truth of the

  remaining allegations, which has the effect of a denial under Rule 8(b)(5).

        11.    Trans Union states that it lacks knowledge or information at this time

  sufficient to form a belief about the truth of these allegations as they apply to Trans

  Union, which has the effect of a denial under Rule 8(b)(5). Trans Union states that

  it lacks knowledge or information sufficient to form a belief about the truth of the

  remaining allegations, which has the effect of a denial under Rule 8(b)(5).

        12.    Trans Union states that it lacks knowledge or information at this time

  sufficient to form a belief about the truth of these allegations as they apply to Trans

  Union, which has the effect of a denial under Rule 8(b)(5). Trans Union states that

  it lacks knowledge or information sufficient to form a belief about the truth of the

  remaining allegations, which has the effect of a denial under Rule 8(b)(5).

        13.    Trans Union states that it lacks knowledge or information at this time

  sufficient to form a belief about the truth of these allegations as they apply to Trans



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  Union, which has the effect of a denial under Rule 8(b)(5). Trans Union states that

  it lacks knowledge or information sufficient to form a belief about the truth of the

  remaining allegations, which has the effect of a denial under Rule 8(b)(5).

        14.    Trans Union states that it lacks knowledge or information at this time

  sufficient to form a belief about the truth of these allegations as they apply to Trans

  Union, which has the effect of a denial under Rule 8(b)(5). Trans Union states that

  it lacks knowledge or information sufficient to form a belief about the truth of the

  remaining allegations, which has the effect of a denial under Rule 8(b)(5).

        15.    Trans Union states that it lacks knowledge or information at this time

  sufficient to form a belief about the truth of these allegations as they apply to Trans

  Union, which has the effect of a denial under Rule 8(b)(5). Trans Union states that

  it lacks knowledge or information sufficient to form a belief about the truth of the

  remaining allegations, which has the effect of a denial under Rule 8(b)(5).

        16.    Trans Union states that it lacks knowledge or information at this time

  sufficient to form a belief about the truth of these allegations as they apply to Trans

  Union, which has the effect of a denial under Rule 8(b)(5). Trans Union states that

  it lacks knowledge or information sufficient to form a belief about the truth of the

  remaining allegations, which has the effect of a denial under Rule 8(b)(5).

        17.    Trans Union denies the allegations contained in this paragraph.

        18.    Trans Union states that it lacks knowledge or information at this time



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  sufficient to form a belief about the truth of these allegations, which has the effect

  of a denial under Rule 8(b)(5).

        19.    Trans Union states that it lacks knowledge or information at this time

  sufficient to form a belief about the truth of these allegations, which has the effect

  of a denial under Rule 8(b)(5).

        20.    Trans Union states that it lacks knowledge or information at this time

  sufficient to form a belief about the truth of these allegations, which has the effect

  of a denial under Rule 8(b)(5).

        21.    Trans Union states that it lacks knowledge or information at this time

  sufficient to form a belief about the truth of these allegations, which has the effect

  of a denial under Rule 8(b)(5).

        22.    Trans Union states that it lacks knowledge or information at this time

  sufficient to form a belief about the truth of these allegations, which has the effect

  of a denial under Rule 8(b)(5).

        23.    Trans Union states that it lacks knowledge or information at this time

  sufficient to form a belief about the truth of these allegations, which has the effect

  of a denial under Rule 8(b)(5).

        24.    Trans Union states that it lacks knowledge or information at this time

  sufficient to form a belief about the truth of these allegations, which has the effect

  of a denial under Rule 8(b)(5).



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        25.    Trans Union states that it lacks knowledge or information at this time

  sufficient to form a belief about the truth of these allegations, which has the effect

  of a denial under Rule 8(b)(5).

        26.    Trans Union states that it lacks knowledge or information at this time

  sufficient to form a belief about the truth of these allegations, which has the effect

  of a denial under Rule 8(b)(5).

        27.    Trans Union states that it lacks knowledge or information at this time

  sufficient to form a belief about the truth of these allegations, which has the effect

  of a denial under Rule 8(b)(5).

        28.    Trans Union states that it lacks knowledge or information at this time

  sufficient to form a belief about the truth of these allegations, which has the effect

  of a denial under Rule 8(b)(5).

        29.    Trans Union states that it lacks knowledge or information at this time

  sufficient to form a belief about the truth of these allegations, which has the effect

  of a denial under Rule 8(b)(5).

        30.    Trans Union states that it lacks knowledge or information at this time

  sufficient to form a belief about the truth of these allegations, which has the effect

  of a denial under Rule 8(b)(5).

        31.    Trans Union states that it lacks knowledge or information at this time

  sufficient to form a belief about the truth of these allegations, which has the effect



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  of a denial under Rule 8(b)(5).

        32.    Trans Union states that it lacks knowledge or information at this time

  sufficient to form a belief about the truth of these allegations, which has the effect

  of a denial under Rule 8(b)(5).

        33.    Trans Union states that it lacks knowledge or information at this time

  sufficient to form a belief about the truth of these allegations, which has the effect

  of a denial under Rule 8(b)(5).

        34.    Trans Union states that it lacks knowledge or information at this time

  sufficient to form a belief about the truth of these allegations, which has the effect

  of a denial under Rule 8(b)(5).

        35.    Trans Union states that it lacks knowledge or information at this time

  sufficient to form a belief about the truth of these allegations, which has the effect

  of a denial under Rule 8(b)(5).

        36.    Trans Union states that it lacks knowledge or information at this time

  sufficient to form a belief about the truth of these allegations, which has the effect

  of a denial under Rule 8(b)(5).

        37.    Trans Union states that it lacks knowledge or information at this time

  sufficient to form a belief about the truth of these allegations, which has the effect

  of a denial under Rule 8(b)(5).

        38.    Trans Union states that it lacks knowledge or information at this time



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  sufficient to form a belief about the truth of these allegations, which has the effect

  of a denial under Rule 8(b)(5).

        39.    Trans Union states that it lacks knowledge or information at this time

  sufficient to form a belief about the truth of these allegations, which has the effect

  of a denial under Rule 8(b)(5).

        40.    Trans Union denies the allegations contained in this paragraph.

        41.    Trans Union denies the allegations contained in this paragraph.

        42.    Trans Union denies the allegations contained in this paragraph.

        43.    Trans Union denies the allegations contained in this paragraph.

        44.    Trans Union denies the allegations contained in this paragraph.

        45.    Trans Union denies the allegations contained in this paragraph.

        46.    Trans Union states that it lacks knowledge or information at this time

  sufficient to form a belief about the truth of these allegations, which has the effect

  of a denial under Rule 8(b)(5).

        47.    Trans Union states that it lacks knowledge or information at this time

  sufficient to form a belief about the truth of these allegations, which has the effect

  of a denial under Rule 8(b)(5).

                            COUNT 1
  WILLFUL AND, IN THE ALTERNATIVE, NEGLIGENT VIOLATION OF
                       15 U.S.C. § 1681e(b)

        48.    Trans Union reasserts its answers and responses set forth herein.



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        49.    Trans Union denies the allegations of this paragraph.

        50.    Trans Union denies the allegations of this paragraph.

        51.    Trans Union denies the allegations of this paragraph.

        52.    Trans Union denies the allegations of this paragraph.

        53.    Trans Union denies the allegations of this paragraph.

        54.    Trans Union denies the allegations of this paragraph.

        55.    Trans Union denies the allegations of this paragraph.

        56.    Trans Union denies the allegations of this paragraph.

        57.    Trans Union denies the allegations of this paragraph.

        58.    Trans Union denies the allegations of this paragraph.

        59.    Trans Union denies the allegations of this paragraph.

        60.    Trans Union denies the allegations of this paragraph.

        61.    Trans Union denies that Plaintiff is entitled to any damages, costs, fees

  or other relief from or against Trans Union.

                           COUNT 2
  WILLFUL AND, IN THE ALTERNATIVE, NEGLIGENT VIOLATION OF
                        15 U.S.C. § 1681i

        62.    Trans Union reasserts its answers and responses set forth herein.

        63.    Trans Union denies the allegations of this paragraph.

        64.    Trans Union denies the allegations of this paragraph.

        65.    Trans Union denies the allegations of this paragraph.



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        66.    Trans Union denies the allegations of this paragraph.

        67.    Trans Union denies the allegations of this paragraph.

        68.    Trans Union denies the allegations of this paragraph.

        69.    Trans Union denies the allegations of this paragraph.

        70.    Trans Union denies the allegations of this paragraph.

        71.    Trans Union denies the allegations of this paragraph.

        72.    Trans Union denies the allegations of this paragraph.

        73.    Trans Union denies the allegations of this paragraph.

        74.    Trans Union denies the allegations of this paragraph.

        75.    Trans Union denies the allegations of this paragraph.

        76.    Trans Union denies the allegations of this paragraph.

        77.    Trans Union denies that Plaintiff is entitled to any damages, costs, fees

  or other relief from or against Trans Union.

                             COUNT 3
   WILLFUL AND, IN THE ALTERNATIVE, NEGLIGENT VIOLATION OF
                        15 U.S.C. § 1681g(a)

        78.    Trans Union reasserts its answers and responses set forth herein.

        79.    Trans Union denies the allegations of this paragraph.

        80.    Trans Union denies the allegations of this paragraph.

        81.    Trans Union denies the allegations of this paragraph.

        82.    Trans Union denies the allegations of this paragraph.



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         83.   Trans Union denies the allegations of this paragraph.

         84.   Trans Union denies the allegations of this paragraph.

         85.   Trans Union denies the allegations of this paragraph.

         86.   Trans Union denies that Plaintiff is entitled to any damages, costs, fees

  or other relief from or against Trans Union.

                                       DEFENSES

         1.    Without admitting the burden of proof, at all relevant times, Trans

  Union maintained and followed reasonable procedures to avoid violations of the

  FCRA and assure maximum possible accuracy of the information concerning

  Plaintiff in preparing consumer reports related to Plaintiff.

         2.    Any alleged damages to Plaintiff, which Trans Union continues to

  deny, are the result of the acts or omissions of Plaintiff or others, over whom Trans

  Union has no control and for whom Trans Union has no responsibility.

         3.    Trans Union, in compliance with the FCRA, reasonably and completely

  reinvestigated and verified, updated, or removed all information disputed by

  Plaintiff.

         4.    Trans Union at all times acted in compliance with the FCRA.

         5.    Trans Union has not published any false, inaccurate or defamatory

  information to a third-party regarding Plaintiff and has not acted with negligence,

  malice, actual malice, or willful intent to injure.



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        6.     Any statement made by Trans Union regarding Plaintiff was true or

  substantially true.

        7.     Plaintiff’s claims for exemplary or punitive damages and the FCRA

  damage model violate the Due Process Clause of the Fourteenth Amendment and

  the laws of the State of filing.

        8.     To the extent Trans Union could be found liable, Plaintiff was

  comparatively/contributorily negligent.

        9.     Any alleged damages to Plaintiff, which Trans Union continues to

  deny, were caused in whole or in part by an intervening or superseding cause.

        WHEREFORE, PREMISES CONSIDERED, Defendant Trans Union,

  respectfully requests that this Honorable Court deny the relief requested in Plaintiff’s

  Complaint, dismiss the action in its entirety, grant Trans Union its costs of suit and

  expenses incurred herein, including reasonable attorneys’ fees, and for such other

  and further relief as the Court deems just.




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  Dated: July 11, 2025
                                           Respectfully submitted,


                                           /s/ Victor Silva
                                           Victor Silva, Esq.
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                                           Tampa, FL 33602-5236
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                                           Fax: 813-222-8189
                                           Email: victor.silva@bipc.com
                                           Counsel for Defendant Trans Union,
                                           LLC




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                             CERTIFICATE OF SERVICE

        I hereby certify that on July 11, 2025, I electronically filed the foregoing with

  the Clerk of the Court using the CM/ECF system which will send notification of

  such filing to all parties of record.


                                          /s/ Victor Silva
                                          Counsel for Defendant Trans Union, LLC




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